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                            United States District Court
                                 District of South Dakota
                                Andrew W.Bogue Federal Building
                                   & United States Gourthouse
                                        Office ofthe Clerk
                                   515 Ninth Street, Room 302
                                       Rapid City, SD 57701
                                                                                        Telephone
Mattiiew W.Thelen
                                                                                    (605) 399-6000
Clerk of Court


                                           July 19, 2018


Scott Lewandoski
Eighth Circuit Court of Appeals
Thomas F. Eagleton United States Courthouse
111 S. 10th St., Suite 24.329
St. Louis, MO 63102


Re:      District Court Case No. 5:17-cr-50098-01; USA v. Chance Garrett Williams
         Your Appeal No. 18-2422; United States v. Chance Williams

Dear Scott,


 Enclosed please find the following:

      • Presentence Investigation Report
      • Addendum to the Presentence Report
      • Recommended Special Conditions
      • Objections to Proposed Presentence Report
      • Transcript of Change of Plea Hearing
      • Transcript of Sentencing Hearing

 If you have any questions, please don't hesitate to contact the Clerk s Office.
 Sincerely,

 /s/Sandie Thielen

 SandieThielen
 Deputy Clerk
 Enclosures
